Russell D. Garrett, OSB #882111
russell.garrett@jordanramis.com
Daniel L. Steinberg, OSB #993690
daniel.steinberg@jordanramis.com
JORDAN RAMIS PC
Two Centerpointe Dr., 6"^ Floor
Lake Oswego, Oregon 97035
Telephone:(503)598-7070
Facsimile:(503)598-7373

Attorneys for Creditor Lillian Logan

                            UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF OREGON

In re                                                 Case No. 19-31886-dwhll

                                                      Chapter 11
Vahan M. Dinihanian, Jr.,
                                                      CREDITOR LILLIAN LOGAN'S
                 Debtors.                             RESPONSE TO DEBTOR'S
                                                      OBJECTION TO PROOF OF CLAIM 4




          Creditor Lillian Logan ("Logan") by and through her attorneys, Jordan Ramis PC,hereby

responds to Vahan Dinihanian, Jr.'s (the "Debtor") objection to Logan's proof of claim 4-1.

Because the claim is subject to a mandatory mediation and arbitration agreement between the

parties, this court should abstain from ruling on the objection to claim until the parties go

through the already agreed upon mediation and arbitration process. Furthermore, should the

Court decide to determine the validity of Logan's claim, the objection must be overruled because

her claim supported by undisputed documents and the Debtor's own testimony regarding missing

assets.


          This response is supported by the court file and the Declarations of Daniel Steinberg and

Lillian Logan filed herewith.


Page
  ®
     1 - CREDITOR LILLIAN LOGAN'S RESPONSE
                                    _
                                           TO              AHonicys at Law
         DEBTOR'S OBJECTION TO PROOF OF              two Centerpointe Dr., 6"^ Floor
         PT ATM 4
                H                                     Lake
                                              Telephone:   Oswego,
                                                        (503)      Oregon
                                                             598-7070       97035598-7373
                                                                       Fax:(503)
                                                                          53110-776994842-7522-0396.1



                       Case 19-31886-dwh11         Doc 76     Filed 11/08/19
                                        BACKGROUND


       Lillian Logan and the Debtor are siblings. Declaration of Daniel Steinberg (^'Steinberg

Declaration"), Ex. 2, p. 3. After their parents' death, Logan and the Debtor owned several

properties and businesses together either individually or through their respective entities. Among

those properties is a cabin located at 27105 E Riverwood, Welches, Oregon. Steinberg Dec.

Ex. 3. Although the Debtor chose not to disclose this asset to the bankruptcy court, it is an asset

he and his sister own as tenants in common. Id. Pursuant to an earlier agreement,the Debtor

agreed to transfer his interest to Logan. Declaration of Lillian Logan, 2. Additionally, Debtor

took unauthorized transfers and failed to account for rent received for joint property. Id. at H 1.

As demonstrated in the Declaration ofLillian Logan, in addition to transferring Debtor's one-

half interest in the Welches cabin to Logan, the Debtor also owes her $49,509.00 for unpaid rent,

unauthorized use ofemployees, and other items. Id.

        Accordingly, Logan's proof of claim is valid and the Debtor's objection should be

overruled.




Page 2- CREDITOR LILLIAN LOGAN'S RESPONSE TO
          DEBTOR'S OBJECTION TO PROOF OF                                 TwoCenterpointeDr.,6'''Floor
          PT ATVf 4
                  t                                                       Lake
                                                                  Telephone:   Oswego,
                                                                            (503)      Oregon
                                                                                 598-7070     97035598-7373
                                                                                          Fax:(503)
                                                                          53110-77699 4842-7522-0396.1



                     Case 19-31886-dwh11          Doc 76     Filed 11/08/19
                                        CONCLUSION


       Because the parties have already agreed to mediate the matters which are the basis of this

proof ofclaim, the Court should abstain from ruling on the objection to claim until the parties go

through their already agreed upon mediation and arbitration process.

       DATED this 8^*^ day ofNovember, 2019.
                                           JORDAN RAMIS PC




                                           By: /s/Daniel L. Steinberg
                                                 Russell D. Garrett, OSB #882111
                                                 Daniel L. Steinberg, OSB #993690
                                                 Attorneysfor Creditor Lillian Logan




Page 3- CREDITOR LILLIAN LOGAN'S RESPONSE TO
          DEBTOR'S OBJECTION TO PROOF OF                               TwoCente7ointeV.,6-^FIoor
          PT A TM H
                  A                                                          Oswego,
                                                                Telephone:(503)      Oregon
                                                                               598-7070 Fax:97035
                                                                                            (503) 598-7373
                                                                         53110-77699 4842-7522-0396.1



                      Case 19-31886-dwh11        Doc 76     Filed 11/08/19
                                 CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I electronically filed the

foregoing CREDITOR LILLIAN LOGAN'S RESPONSE TO DEBTOR'S OBJECTION

TO PROOF OF CLAIM 4 with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the following:

 Nicholas J. Henderson
 Troy Sexton
 Email: nhenderson@poi1iaw.com
 tsexton@,portlaw.com
    Counsel for Debtor

 U.S. Trustee, Portland                              Stephen P. Amot
 620 SW Main Street, #213                            DOJ-Ust
 Portland, OR 97205                                  Email: steve.arnot@usdoj.gov
                                                      Counsel for U.S. Trustee



       DATED: November 8,2019.


                                                      /s/Daniel L. Steinberg
                                                      Daniel L. Steinberg, OSB #993690
                                                       daniel.steinberg@jordanramis.com




                                                                             JORDAN RAMIS PC
Page 4- CREDITOR LILLIAN LOGAN'S RESPONSE TO                                    Attorneys at Law
          DEBTOR'S OBJECTION TO PROOF OF                                 Two Centerpointe Dr., 6*'' Floor
                                                                          Lake Oswego, Oregon 97035
           CLAIM 4
                                                                  Telephone:(503)598-7070 Fax:(503)598-7373
                                                                           53110-77699 4842-7522-0396.1



                     Case 19-31886-dwh11             Doc 76    Filed 11/08/19
Russell D. Garrett, OSB #882111
russell.garrett@jordanramis.com
Daniel L. Steinberg, OSB #993690
daniel.steinberg@jordanramis.com
JORDAN RAMIS PC
Two Centerpointe Dr., 6^*^ Floor
Lake Oswego, Oregon 97035
Telephone:(503)598-7070
Facsimile:(503)598-7373

Attorneys for Creditor Lillian Logan

                           UNITED STATES BANKRUPTCY COURT


                               FOR THE DISTRICT OF OREGON


In re                                                Case No. 19-31886-dwhll


Vahan M. Dinihanian, Jr.,
                                                     Chapter 11

                                                    DECLARATION OF
                Debtors.                            DANIEL STEINBERG IN SUPPORT OF
                                                    RESPONSE TO DEBTOR'S
                                                    OBJECTION TO PROOF OF CLAIM 4




        I, Daniel Steinberg, am one of the attorneys for creditor Lillian Logan ("Logan")in the

above-captioned bankruptcy. I make this declaration based on my personal knowledge and if

called as a witness I am competent to testify to the matters contained herein.

        1.      Attached hereto as Exhibit 1 is a copy of the mediation and arbitration agreement

between Lillian Logan and Vahan M. Dinihanian, Jr.(the "Debtor").

        2.      Attached hereto as Exhibit 2 is a copy of the excerpts from the Debtor's 2004

examination.


        3.      Attached hereto as Exhibit 3 is a copy of real property records demonstrating that

the Debtor and Ms. Logan own the cabin located in Welches, Oregon, as tenants in common.




Page
  °
     1 - DECLARATION OF DANIEL STEINBERG
                                      _
                                         IN                                    Jordan  ramis pc
                                                                                 Altomeys at Law
             SUPPORT OF RESPONSE TO DEBTOR'S                              two centerpointe Dr.. 6th Floor
             OBJECTION TO PROOF OF CLAIM 4                            ^
                                                                  Telephone:(503)598-7070 Fax:(503)598-7373
                                                                                                            7.7,
                                                                            53110-77699 48294359-4412.1



                      Case 19-31886-dwh11         Doc 76     Filed 11/08/19
     I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT.


     Executed on November 8, 2019.




                                     JORDAN RAMIS PC




                                     By: /s/Daniel L. Steinberg
                                         Daniel L. Steinberg, OSB #993690
                                         Attorneysfor Creditor Lillian Logan




Page
  ®
     2- DECLARATION OF DANIEL STEINBERG IN                                    ramis pc
                                                                      Attorneys at Law
       SUPPORT OF RESPONSE TO DEBTOR'S                         Two Centerpointe Dr.. 6th Floor
       OR TFCTTON
             1 IV^IN TO
                     1 KJ PROOF
                          rrvuLjr OF
                                  wr CLAIM 4                         Oswego,
                                                        Telephone:(503)      Oregon
                                                                       598-7070  Fax:97035
                                                                                      (503)598-7373
                                                                 53110-77699 4829-4359-M12,1



                Case 19-31886-dwh11       Doc 76    Filed 11/08/19
                                CERTIFICATE OF SERVICE


       I hereby certify that on the date shown below, I electronically filed the

foregoing DECLARATION OF DANIEL STEINBERG IN SUPPORT OF RESPONSE TO

DEBTOR'S OBJECTION TO PROOF OF CLAIM 4 with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to the following:

 Nicholas J. Henderson
 Troy Sexton
 Email: nhenderson@portlaw.com
 tsexton@.portlaw.com
    Counsel for Debtor


 U.S. Trustee, Portland                           Stephen P. Amot
 620 SW Main Street, #213                         DOJ-Ust
 Portland, OR 97205                               Email: steve.arnot@usdoj.gov
                                                    Counsel for U.S. Trustee



       DATED: November 8, 2019.


                                                    /s/Daniel L Steinberg
                                                    Daniel L. Steinberg, OSB #993690
                                                    daniel.steinberg@jordanramis.com




                                                                            JORDAN RAMIS PC
Page 3- DECLARATION OF DANIEL STEINBERG IN                                   Attorneys at Law
          SUPPORT OF RESPONSE TO DEBTOR'S                              Two Centerpointe Dr,6lh Floor
                                                                        Lake Oswego, Oregon 97035
          OBJECTION TO PROOF OF CLAIM 4                          Telephone:(503)598-7070 Fax:(503)598-7373
                                                                         53110-77699 48294359-4412.1



                    Case 19-31886-dwh11          Doc 76     Filed 11/08/19
                                                                                #


                                                                                  EXHIBIT N<
                      AGREEMENT TO MEDIATE AND ARBITRATE
                                                                                   Schmitt Keporting



 This Agreement Is made effective this 21st day of January, 2019, by and among 15005
 NW Corneii LLC, an Oregon limited liability company; Vahan Dlnihanian Jr., an
 individual; Eagle Holdings, LLC, an Oregon limited liability company; Corneii Rd. LLC,
 an Oregon limited liability company; Christiana LLC, an Oregon limited liability
 company; Alexander LLC, an Oregon limited liability company: Dlnihanian Floral
 Products, Inc., an Oregon corporation; and Lilian Logan, an individual (collectively, "the
 Parties).

 1.     Disputes have arisen among the parties relating various business operations and
 debts, as well as claims pertaining to ownership of a Cabin located at 27105 East
 Riverwood Lane, Wemme, Oregon 97067(collectively "Claims"). It is the intent of the
 Parties to resolve all existing disputes between or among themselves as provided
 herein, except the pending partition action in case number ISCVI7059 referred to in
paragraph 6 herein. The parties agree to make all records and documents relating to
any of the existing disputes between or among them equally available to each party.
2.      Within thirty (30) days of the date of this Agreement, the parties shall select a
 mediator to assist the parties with the resolution of the Claims. The cost of the
 mediators services shall be divided equally among the Dlnihanian Floral Products, Inc.,
Vahan Dinihanian, and Lilian Logan.

3.      Mediation shall occur in two stages:

      a.     Stage One. The first stage of mediation shall take place within forty-five
(45)days of selection of the mediator. The parties shall, at that time identify and
summarize all of the Claims they wish to resolve in mediation to the mediator and the
other Parties to this Agreement, and shall produce to the mediator all supporting
documentation. The Parties shall, in good faith, attempt to resolve as many of the
issues as possible during stage one.

       B.     Stage Two. To the extent there are any Claims left to be resolved after
Stage One, the parties shall enter into a second round of mediation to take place within
45 days of the Stage One mediation, in order to address any remaining Claims. The
parties may, thereafter, stipulate to additional mediation efforts if any Claims remain
unresolved, although there is no requirement to do so.

4.     After Stage Two. any Party hereto may demand that any remaining Claims be
resolved in binding arbitration. Arbitration shall be initiated through the Arbitration
Service of Portland, and shall proceed as expeditiously as possible.
5.     If the Parties have a disagreement about the meaning or effect of this
Agreement, such disagreement shall be submitted to the mediator or arbitrator(as
applicable), who shall be the final authority as to the meaning and effect of this
Page 1 - Agreement to Mediate and Arbitrate                                     S3n0-76701 332SS9J.I




                                                                                            Exhibit 1
                                                                                       Page 1 of 6
                 Case 19-31886-dwh11            Doc 76     Filed 11/08/19
Agreement and the rights and obligations of the parties hereunder. The mediator or
arbitrator shall include any determinations made as to the meaning and effect of this
Agreement In the final award. Except as provided in section 6, below, no party may
seek relief or redress of any kind in any forum other than the mediation and arbitration
hereunder as to any matter faliing within the scope of this Agreement or arising out of
the meaning or effect of this Agreement.
6. Award in Mediation or Arbitration. Any award of money arising from mediation or
arbitration will be paid first from sums held back In the sale of the property located at
15005 NW Cornell Rd, as provided by stipulated Order in case number 18CV17059 in
the Circuit Court of Oregon for Washington County.
The parties enter Into this Agreement on the date set forth above.

15005 NW Cornell LLC




By:                                                           Date

\Wan Dinihanian Jr.




      DinlhaniaJTJr.                                          Date

E^ie Holdings, LLC


                                                              Date

Cornell Rd LLC




By:                                                           Date

Christiana LLC




By:                                                           Date




Page 2 — Agreement to Mediate and Arbitrate                                  S3nO-7G7013325S91.1




                                                                                          Exhibit 1
                                                                                     Page 2 of 6
                 Case 19-31886-dwh11          Doc 76     Filed 11/08/19
 Alexander LLC




 ^y-                                                   Date

 Dinihanian Floral Products, Inc.



 By:                                                   Pate

Lilian Logan



Lilian Logan                                           Date




Page 3- Agreement to Mediate and Arbitrate                         S31I0.7S701 332SS9I.I




                                                                               Exhibit 1
                                                                          Page 3 of 6
               Case 19-31886-dwh11       Doc 76   Filed 11/08/19
   Alexander LLC



                                                             /-^5-/9
                                                            Date

   Djnihanlan Floral Products, Inc.
        :).



  By;
                         7                                  Date

  Lilian Logan

                          9
                                                            /-^3
  Lilian Logan
                          7                                 Date




Page 3- Agreement to Mediate and Arbitrate
                                                                       53JI0.7670) J.72«9I.}



                                                                                    Exhibit 1
                                                                               Page 4 of6
                 Case 19-31886-dwh11         Doc 76   Filed 11/08/19
                     AGREEMENT TO MEDIATE AND ARBITRATE




This Agreement is made effective this 21st day of January. 2019, by and among 15005
NWCorne!) LLC, an Oregon limited liability company: Vahan Dinihanian Jr., an
individual; Eagle Holdings, LLC, an Oregon limited liability company; Cornell Rd. LLC,
an Oregon limited liability company: Christiana LLC, an Oregon limited liability
company; Alexander LLC, an Oregon limited liability company; Dinihanian Floral
Products, inc., an Oregon corporation; and Lilian Logan, an individual (collectively, "the
Parties).

1.     Disputes have arisen among the parties relating various business operations and
debts, as well as claims pertaining to ownership of a Cabin located at 27105 East
Riverwood Lane, Wemme, Oregon 97067(colfectively "Claims"). It is the intent o^he
Parties to resolve all existing disputes between or among themselves as provided
herein, except the pending partition action in case number 18CV17059 referred to in
paragraph 6 herein. The parties agree to make all records and documents relating to
any of the existing disputes between or among them equally available to each party.

2.     Within thirty (30) days of the date of this Agreement, the parties shall select a
mediator to assist the parties with the resolution of the Claims. The cost of the
mediators services shall be divided equally among the Dinihanian Floral Products, Inc.,
Vahan Dinihanian, and Lilian Logan.

3.     Mediation shall occur in two stages:

       a.     Stage One. The first stage of mediation shall take place within forty-five
(45) days of selection of the mediator. The parties shall, at that time identify and
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parlies may. thereafter, stipulate to additional mediation efforts if any Claims remain
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4.    After Stage Two, any Party hereto may demand that any remaining Claims be
resolved in binding arbitration. Arbitration shall be initiated through the Arbitration
Service of Portland, and shall proceed as expedltiously as possible.
5.     If the Parties have a disagreement about the meaning or effect of this
Agreement, such disagreement shall he submitted to the mediator or arbitrator (as
applicable), who shai! be the final authority as to the meaning and effect of this
Page 1 - Agreement to Mediate and Arbitrate                                   53110.707013.125531.1

                                                                                        Exhibit 1
                                                                                   Page 5 of 6
                Case 19-31886-dwh11           Doc 76    Filed 11/08/19
 Agreement and the rights and obligations of the parties hereunder. The mediator or
 arbitrator shall include any determinations made as to the meaning and effect of this
 Agreement in the final award. Except as provided in section 6. below, no party may
 seek relief or redress of any kind in any forum other than the mediation and arbitration
 hereunder as to any matter falling within the scope of this Agreement or arising out of
 the meaning or effect of this Agreement.

 6.     Award in Mediation or Arbitration. Any award of money arising from mediation or
 arbitration will be paid first from sums held back in the sale of the property located at
 15005 NW Cornell Rd, as provided by stipulated Order in case number 18GV 17059 in
 the Circuit Court of Oregon for Washington County.

 The parties enter into this Agreement on the date set forth above.


 15005 NW Cornell LLC




                                                               Date

 Vahan Dinihanian Jr.




Valan Dinihanian Jr.                                           Date
Eagle Holdings, LLC




                                                              Date

Cornell Rd LLC



                                                                       /f
                                                              Date

Christiana LLC




^                                                             DitT


Page 2-Agreement to Mediate and Arbitrate                                   ijuwsToi        ,

                                                                                       Exhibit 1
                                                                                Page 6 of 6
                Case 19-31886-dwh11          Doc 76     Filed 11/08/19
             UNITED STATES BANKRUPTCY          COURT


               FOR THE   DISTRICT OF OREGON




In   re;


15005 NW Cornell, LLC; and             Bankruptcy Case
Vahan M. Dinihanian, Jr.,              Nos. 19-31883-dwhll(Lead
                                       Case)
                   Debtors.
                                       19-31886-dwhll


                                       Jointly
                                       Administered under
                                       Case    No.
                                       19-31883-dwhll




                     DEPOSITION       OF


                 VAHAN DINIHANIAN, JR.

              Taken in   behalf of Claimant

                         *   *    *




                    October 8, 2019

           Two Centerpointe Drive, 6th Floor

                Lake Oswego, OR 97035




 Cynthia Marie Smith, CSR

 Court Reporter




                                                                  Exhibit 2
                                                                Page 1 of 4
            Case 19-31886-dwh11       Doc 76   Filed 11/08/19
     Zn re 15005 NW Cornell, LLC and Dinihanian
     Vahan Dinihanian, 10/08/2019                                       Page 3

 1     For Sonja Dinihanian & Trust:

 2     MR. BRUCE H. ORR
       Wyse Kadish, LLP
 3     900 S.W. Fifth Avenue
       Suite 2000
 4     Portland, OR, 97204
       503.517.8115
 5     bho@wysekadish.com

 6

 7


 8


 9    Also Present:    Tasha Teherani-Ami,
      (Via telephone) Dan Logan, Alexander Logan
10


11


12


13


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15


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21


22

23


24


25




                      Schmitt Reporting & Video, Inc.
             (360) 695-5554 ~ (503) 245-4552 — (855) 695-5554
                                                                        Exhibit 2
                                                                      Page 2 of 4
                    Case 19-31886-dwh11     Doc 76   Filed 11/08/19
     In re 15005 NW Cornell, LLC and Oinihanian
     Vahan Oinihanian, 10/08/2019                                        Page 37

 1                THE WITNESS:       And that would be the

 2     Union Bank of California and others involved for

 3     the claim of $576,450.           Is that what you are
 4     referring to?

 5         Q.     (By Mr. Garrett)         Right.    The business

 6     tort claims that you have referenced here in
 7     number 33.

8          A.     Right.     Those were funds -- so Lillian

 9     Logan, my sister, and I had a joint bank account

10    at the Union Bank of California.               I allege that

11    one of the members of your office, Tim Ramis,

12    instructed my sister to go into the Union Bank

13    of California and request to the Union Bank of

14     California that those funds be taken out of our

15    joint account and moved into an account without

16     my signature where the Union Bank of California

17     knew that the signature for myself was required

18     to move those funds.

19         Q.     Okay.    So it's about ~~ the claim is

20     about removing funds from a joint bank account,

21    in essence?        Is that a fair way to put it?

22         A.     I think that the main issue is that the

23     Union Bank of California knew that they couldn't

24     do what they did, but they did it anyway.                  They

25    couldn't legally do it without my signature.


                      Schmitt Reporting & Video, Inc.
             (360) 695-5554 — (503) 245-4552 ~ (855) 695-5554
                                                                           Exhibit 2
                                                                         Page 3 of 4
                    Case 19-31886-dwh11     Doc 76   Filed 11/08/19
     In re 15005 MH Cornell, LLC and Dinihanian
     Vahan Dinihanian, 10/06/2019                                        Page 149

 1          Q.    Well, what's your recollection?
 2          A.    I don't recall the guarantees, the exact
 3     wording of the guarantees.
 4          Q.    Okay.     So there is a guarantee.           It's

 5     just

 6          A.    I don't know that.          I don't know that.

 7     I don't know the wording of whether or not there

 8     was a guarantee or what.

 9          Q.    Do you know who the primary obligor on
10     that loan is?

11         A.     No.     I think it's the LLC that bought
12    it.

13         Q.     Is that 2275 W. Burnside, LLC or a

14    different one?

15         A.     No.     That would be that LLC, yes.
16         Q.     Okay.    Take a look at Exhibit 21.             Have

17     you seen this before?

IB         A.     Yeah, it looks familiar.

19         Q.     Do vou see your signature on this?

20         A.     I do.

21        Q.      All right.        What was your understanding
22    as in terms of the scope of what you agreed to
23    mediate and arbitrate?

24        A.     I was told by the attorney, Greg Meyer,
25    that made this agreement without talking to me.


                        Schmitt Reporting & Video, Inc.
              (360) 695-5554 — (503) 245-4552 — (855) 695-5554
                                                                           Exhibit 2
                                                                         Page 4 of 4
                    Case 19-31886-dwh11     Doc 76   Filed 11/08/19
    a:
     r •                                               Clackomas County Official Records
                                                       Sherry Hall, County Clerk
                                                                                                onnfi n^'iQon
                                                                                                ^UUO-UOl OOU
y        AFTER RECORDING.RETURN TO:


         John H. Rosenfeld                               IIIIIIIIIIIIIIIIIIIIMIIIillllillllllllll
                                                         0099403220060061B800040042                        ...
         Tonkon Torp LLP                                                               07/07/2006 10:44:63 AM
         1600 Pioneer Tower                            D-D          Cnt»1 Sln=9 ELIZABETH
                                                      $20.00 $11.00 $10.00
         888 SW Fifth Avenue
         Portland, OR 97204-2099

         UNTIL A CHANGE IS REQUESTED,
         SEND ALL TAX STATEMENTS TO:


         Lillian R. Logan
         Vahan M. Dinihanian, Jr.
         15005 ITrV Cornell Road
         Beaverton, OR 97006



                                               WARR/VNTYDEED


                         DINIHANIAN PROPERTIES, a partnership consisting of Vahan M. Dinihanian,
         Jr. and Lillian R. Logan (fortnerly Lillian R. Dinihanian), Grantor, conveys and warrants to
         VAHAN M. DINIHANIAN, JR. and LILLIAN R. LOGAN, each as to an undivided one-half
         interest as tenants in common, Grantee, that certain real property located in Clackamas County,
         Oregon, and more particularly described in Exhibit A attached hereto, free of encumbrances
         except as specifically set forth herein, together with the right to use water from the spring and
         reservoir located on the real property described in Exhibit B attached hereto and by this reference
         incorporated herein, and the right to enter upon said real property for the purpose of connecting
         to and utilizing Grantees' right to said water, as reserved in Contract of Sale dated the 24*^ day of
         November, 1976, and recorded under Recorder's Fee No. 76-41952, Clackamas County Records.

                        The true consideration for this conveyance is property or value other than money.

                        Prior to January 3, 1987, Dinihanian Properties was owned 51% by Rosalie
         Dinihanian, and 24.5% by each of Vahan M. Dinihanian, Jr. and Lillian R. Logan. Following the
         death of Rosalie Dinihanian on January 3, 1987, her 51% was distributed as follows: 18.38% to
         each of Vahan M. Dinilianian, Jr. and Lillian R. Logan and 14.24% to Vahan M. Dinihanian. On
         February 2, 1988, Vahan M. Dinihanian transferred his 14.24% interest as follows: 7.12% to
         each of Vahan M. Dinihanian, Jr. and Lillian R. Logan, resulting in Vahan M. Dinihanian, Jr.
         and Lillian R. Logan each owning 50% of the partnership.

         BEFORE SIGNING OR ACCEPTING THIS INSTRUMENT, THE PERSON
         TRANSFERRING FEE TITLE SHOULD INQUIRE ABOUT THE PERSON'S RIGHTS, IF
         ANY, UNDER ORS 197.352. THIS INSTRUMENT DOES NOT ALLOW USE OF THE
         PROPERTY DESCRIBED IN THIS INSTRUMENT IN VIOLATION OF APPLICABLE
         LAND USE LAWS AND REGULATIONS. BEFORE SIGNING OR ACCEPTING THIS
         INSTRUMENT, THE PERSON ACQUIRING FEE TITLE TO THE PROPERTY SHOULD




                                                                                                      Exhibit 3
                                                                                                    Page   ofT
                             Case 19-31886-dwh11             Doc 76      Filed 11/08/19
CHECK WITH THE APPROPRIATE CITY OR COUMTY PLANNING DEPARTMENT TO
VERIFY APPROVED USES, TO DETERMINE ANY LIMITS ON LAWSUITS AGAINST
FARMING OR FOREST PRACTICES AS DEFINED IN ORS 30.930 AND TO INQUIRE
ABOUT THE RIGHTS OF NEIGHBORING PROPERTY OWNERS. IF ANY, UNDER
ORS 197.352.


                   DATED:               ^   ,2006.


GRANTOR;                                    DINIHANIAN PROPERTIES




                                                 VAHAN M. DINIHANIAN.PR.




STATE OF OREGON                  )
                                 )ss.
County of                        I

          The foregoing instrument was acknowledged before me on           , 2006, by Vahan
M. Dinihanian, Jr.



                  "offiSSTIBr
                JAMiC I i€UKE
             NOIARV PUkC-OfSOON
                                                              p|\
                                                  •Public for CMeon
                                                              Oregon
             COMMBMMNCXkttlM

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STATE OF OREGON
                                 )ss.
County of.

         The foregoing instrument was acknowledged before me on rTvMi *2^ ,2006, by Lillian
R. Logan.

                  OFFtCM. SEAL
                 JAMIE L Ktm
            MOIMY PUkC-CMMN
            coywoNNa«oiw                    NbtJii^ Public for^egon
   MV*                                      My c^rnission expires MAKf\A       /'^\0
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                                                                                     Exhibit 3
                                                                                 Pag^ of 4
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                                    EXHIBIT A



A parcel ofland in Section 9 T.3S. R.7E., W.M., in Clackamas Coxuity, Oregon,
described as follows:


Beginning at the Northwest comer of the Southeast one-quarter of said Section 9;
thence South 660 feel; thence West 527 feet to the East line of County Road No.
1440; thence following tlie said road line South 57.34 feet to a point of curve;
thence on the arc of a curve to the left, having a radius of80 feet through a central
angle of 33°40' a distance of 47.01 feet to a point; thence tangent to the said curve
South 33°40' East a distance of 460.36 feet to the end of said road line; thence
South 56°20' West 184.1 feet, crossing the Salmon River, to the Easterly line of
the original plat of Idlewilde as laid out, established and recorded in the record of
plats of Clackamas County; thence South 39°00' East following the said line of
said plat, 92.5 feet to the North line of Mauldings Addition to Idlewilde as laid
out, established and recorded in the record of plats of Clackamas County; thence
following the North boundaries of the said plat, East 73.4 feet; thence South 80
feet; thence East 283 feet to a point on said boundary line 100 feet West of the
Northeast comer of said Mauldings Addition to Idlewilde; thence North 100 feet;
thence East 150 feet to the West line of County Road No. 1289; thence South
following said road line 20 feet to the South line of the Northwest one-quarter of
the Southeast one-quarter of Section 9, T.3S. R.7E., W.M., thence East following
the said line 1,170 feel more or less to the East line of the said Northwest one-
quarter of the Southeast one-quarter of said Section 9; thence North 1,319 feet
more or less to the North line thereof; thence West 1,320 feet more or less to the
point of beginning,

EXCEPTING so much of County Road No. 1289 as lies within the boundaries of
the property as described and EXCEPTING FURTHER so much of the property
described above that is described in that certain Contract of Sale between George
Teufel Holly Farms, Inc. and James E. O'Dea and Kay J. O'Dea dated May 14,
1975 and recorded September 10, 1976 under Recorder's Fee No. 76-31757,
Clackamas County Records and EXCEPTING FURTHER so much of the
property described above that is described in that certain Contract of Sale bet^\'een
George Teufel Holly Farms, Inc. and Jolm Vlahos dated November 24, 1976 and
recorded November 28, 1976 under Recorder's Fee No. 76-41952, Clackamas
County, Records.




                                                                                    Exhibit 3
                                                                                 Page 3 of 4
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                                  EXHIBIT B


A parcel of land in the Northwest one-quarter of the Southeast one-quarter of
Section 9, T3S,R7E, W.M.,in Clackamas County, Oregon, described as follows:

BEGINNING at the Southeast corner of the Northwest one-quarter of the
Southeast one-quarter of said Section 9; thence North 01°06'52" West, along the
Easterly line of said Northwest one-quarter of the Southeast one-quarter, 546.18
feet; thence North 89°05'47" West, 942.25 feet to the Easterly line of Salmon
River Road as traveled and as monumented; thence following the Easterly right-
of-way line of Salmon River Road as traveled and as monumented South
04°49'37" West, 299.21 feet to a point of curve left; thence along the arc of said
curve left having a radius of 367.00 feet tlirough a central angle of 30°56' a
distance of 198.14 feet {chord bears South IC°28'23" East, 195.74 feet); thence
South 26°06'23" East, 62,35 feet to the Northerly line of"Hood Hideaways No. 2"
a recorded subdivision; thence South 89°05'47" East, along the North line of
Hood Hideaways No.2 and its extension, 914.47 feet to the point of beginning.




                                                                                 Exhibit 3
                                                                              Page 4 of 4
           Case 19-31886-dwh11           Doc 76     Filed 11/08/19
Russell D. Garretf, OSB #882111
russell.garrett@jordanramis.com
Daniel L. Steinberg, OSB #993690
danieLsteinberg@jordanramis.com
JORDAN RAMIS PC
Two Centerpointe Dr., 6^*^ Floor
Lake Oswego, Oregon 97035
Telephone:(503)598-7070
Facsimile:(503)598-7373

Attorneys for Creditor Lillian Logan

                           UNITED STATES BANKRUPTCY COURT


                               FOR THE DISTRICT OF OREGON

In re                                                Case No. 19-31886-dwhll

                                                     Chapter 11
Vahan M. Dinihanian, Jr.,
                                                     DECLARATION OF LILLIAN LOGAN
                Debtors.                             IN SUPPORT OF RESPONSE TO
                                                     DEBTOR'S OBJECTION TO PROOF OF
                                                     CLAIM 4




        I, Lillian Logan,am a creditor in the above-captioned bankruptcy. I make this

declaration based on my personal knowledge and if called as a witness I am competent to testify

to the matters contained herein.

        1.      The Debtor has failed to account for rent, has transferred inventory, and has used

employees for unauthorized purposes resulting in total damage to me in the amount of

$49,509.00.

        2.      The Debtor agreed to sell me his share ofthe cabin in Welches located at 27105 E

Riverwood, Welches, Oregon, for $150,000.00 but then refused to do so unless I agreed to his

demands regarding the property located on Cornell Road.



Page 1 - DECLARATION OF LILLIAN LOGAN IN
             SUPPORT OF RESPONSE TO DEBTOR'S                             Two centerpointe Dr.. 6th Floor
             OR TFCTION
                   1 lUiN TO
                          i W PROOF
                              rivwvjr OF
                                      wr CLAIM 4
                                               t                               Oswego,
                                                                  Telephone:(503)      Oregon
                                                                                 598-7070       97035598-7373
                                                                                           Fax:(503)
                                                                           53110-77699 4848-0239-2492,1



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       3.     The disagreement over the above items is what led the Debtor and I to enter into
an agreement to mediate and arbitrate all of our outstanding disputes.

       I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT.

       Executed on November 8, 2019.


                                             Lillian Logan, Creditor
                                                                              c




                                                                            JORDAN RAMIS PC
 Page 2- DECLARATION OF LILLIAN LOGAN IN                                      Attorneys at l.aw
            SUPPORT OF RESPONSE TO DEBTOR'S                              TviO Centcqwintc Dr., 6lh Floor
                                                                          Lake Oswcgo, Oregon 97035
            OBJECTION TO PROOF OF CLAIM 4
                                                                 I'elcphonc:(503)598-7070 Fax;(503)598-7373
                                                                         53110-77699 4848-0239-2492.1



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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I electronically filed the

foregoing DECLARATION OF LILLIAN LOGAN IN SUPPORT OF RESPONSE TO

DEBTOR'S OBJECTION TO PROOF OF CLAIM 4 with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to the following:

 Nicholas J. Henderson
 Troy Sexton
 Email: nhenderson@Doi1law.com
 tsexton@.portIaw.com
    Counsel for Debtor


 U.S. Trustee, Portland                           Stephen P. Amot
 620 SW Main Street, #213                         DOJ-Ust
 Portland, OR 97205                               Email: steve.amot@usdoj.gov
                                                    Counsel for U.S. Trustee



       DATED: November 8,2019.


                                                    /s/Daniel L. Steinberg
                                                    Daniel L. Steinberg, OSB #993690
                                                    daniel.steinberg@jordanramis.com




                                                                            JORDAN RAMIS PC
Page 3- DECLARATION OF LILLIAN LOGAN IN                                       Attorneys at Law
          SUPPORT OF RESPONSE TO DEBTOR'S                              Two Centerpointe Dr., 6th Floor
                                                                         Lake Oswego, Oregon 97035
          OBJECTION TO PROOF OF CLAIM 4                          Telephone:(503)598-7070 Fax:(503)598-7373
                                                                         53110-77699 4848-0239-2492.1



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